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                                                              COMPLAINT EXHIBIT 14
                                                            U.S. Patent No. 8,050,321 (H.264)

        As demonstrated in the chart below, ASUS directly and indirectly infringes at least claims 8 of U.S. Patent No. 8,050,321 (the
“’321 Patent”). ASUS directly infringes, contributes to the infringement of, and/or induces infringement of the ’321 Patent by making,
using, selling, offering for sale, and/or importing into the United States the Accused Products that are covered by one or more claims of
the ’321 Patent. The Accused Products are devices that decode H.264-compliant video. For example, the ASUS Q543MV Notebook
(“ASUS Q543MV”) is a representative product for other ASUS devices that decode H.264-compliant video.

       The ASUS Q543MV contains at least one video decoder that helps decode H.264-compliant video. 1 While evidence from the
ASUS Q543MV is specifically charted herein, the evidence and contentions charted herein apply equally to the other ASUS Accused
Products that decode H.264-compliant video.

      No part of this exemplary chart construes, or is intended to construe, the specification, file history, or claims of the ’321 Patent.
Moreover, this exemplary chart does not limit, and is not intended to limit, Nokia’s infringement positions or contentions.

       The following infringement chart includes exemplary citations to ITU-T Rec. H.264 (03/2005) Advanced video coding for
generic audiovisual services (available at https://www.itu.int/rec/T-REC-H.264-200503-S/en) (the “H.264 Standard”). The cited
functionality has been included in editions of the H.264 Standard since at least May 2003 and remains in current editions of the H.264
Standard. Any ASUS device that includes a decoder that practices the functionality in any of these editions of the H.264 Standard
(“H.264 Decoder) practices the decoding claims of the ’321 Patent.

       Nokia contends each of the following limitations is met literally, and, to the extent a limitation is not met literally, it is met under
the doctrine of equivalents. 2




1
 See, e.g., https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/;
https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-24m-cache-up-to-5-10-ghz/specifications.html;
https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new.
2
 This claim chart is based on the information currently available to Nokia and is intended to be exemplary in nature. Nokia reserves all rights to update and
elaborate its infringement positions, including as Nokia obtains additional information during discovery.
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                                                                                                          U.S. Patent No. 8,050,321
U.S. Patent No. 8,050,321                                        ASUS Accused Products
8. [A] A method for         Each of the Accused Products, such as the Asus Q543MV, performs a method for decoding a
decoding a compressed       compressed video sequence.
video sequence,
                            For example, and without limitation, the Asus Q543MV uses hardware-accelerated video decoding and
                            includes an NVIDIA GeForce RTX 4060 Laptop graphics processing unit (“GPU”) and an Intel Core
                            Ultra 9 Processor 185H.




                            Source: https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-
                            q543/techspec/ (last accessed March 6, 2025).




                            Source: https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-
                            24m-cache-up-to-5-10-ghz/specifications.html (last accessed March 6, 2025) (specifications for Intel Core
                            Ultra 9 185H).

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                                                                                      U.S. Patent No. 8,050,321




          Source: https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new (last accessed
          March 6, 2025) (row for 4060 Laptop GPU).

          For example, an ASUS Q543MV was used to playback an H.264-compliant video.




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                                                                                     U.S. Patent No. 8,050,321




          Source: Screenshot of H.264-compliant video playback on ASUS Q543MV.

          For example, and without limitation, the H.264 Standard specifies the following regarding the
          decoding process. The following specifications provide further evidence of how each of the Accused
          Products operates:

               3 Definitions
               For the purposes of this Recommendation | International Standard, the following definitions
               apply.
               ...
               3.30 coded video sequence: A sequence of access units that consists, in decoding order, of an
               IDR access unit followed by zero or more non-IDR access units including all subsequent access
               units up to but not including any subsequent IDR access unit.
               ...

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                                                                                                               U.S. Patent No. 8,050,321
                                     3.37 decoded picture: A decoded picture is derived by decoding a coded picture. A decoded
                                     picture is either a decoded frame, or a decoded field. A decoded field is either a decoded top field
                                     or a decoded bottom field.
                                     ...
                                     3.39 decoder: An embodiment of a decoding process.
                                     3.40 decoding order: The order in which syntax elements are processed by the decoding process.
                                     3.41 decoding process: The process specified in this Recommendation | International Standard
                                     that reads a bitstream and derives decoded pictures from it.
                                     ...


                               (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at pp. 4 – 6).

[B] the method                 Each of the Accused Products, such as the Asus Q543MV, performs a method of decoding a compressed
comprising: decoding from      video sequence, the method comprising: decoding from the video sequence an indication of at least one
the video sequence an          image frame, which is the first image frame, in decoding order, of an independent sequence, wherein all
indication of at least one     motion-compensated temporal prediction references of the independent sequence refer only to image
image frame, which is the      frames within said independent sequence.
first image frame, in
decoding order, of an          For example, and without limitation, the H.264 Standard specifies decoding from the video sequence an
independent sequence,          indication of at least one image frame, which is the first image frame, in decoding order, of an
wherein all motion-            independent sequence, wherein all motion-compensated temporal prediction references of the
compensated temporal           independent sequence refer only to image frames within said independent sequence.
prediction references of the
independent sequence refer     For example, according to the H.264 Standard, a decoder decodes each coded video sequence starting
only to image frames           with an instantaneous decoding refresh (IDR) picture, which is followed by zero or more non-IDR
within said independent        pictures in decoding order. An IDR picture is a coded picture in which all slices are I or SI (intra coded)
sequence;                      slices and therefore can be independently decoded without prediction from any other decoded picture.
                               Furthermore, after decoding of an IDR picture, all subsequent coded pictures in decoding order in the
                               coded video sequence can be independently decoded without inter prediction from any picture decoded
                               prior to the IDR picture in question. This means that, for any given coded video sequence after an IDR
                               picture, motion-compensated prediction references only refer to coded pictures within the independent
                               video sequence.



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                                                                                        U.S. Patent No. 8,050,321
          For example, an H.264 Decoder receives an indication of an IDR picture in the bitstream is indicated,
          for example, as a value of nal_unit_type = 5 in the NAL Unit syntax.

          The following specifications provide further evidence of how the at least one H.264 Decoder
          implemented in each of the Accused Products operates:

               3 Definitions
               For the purposes of this Recommendation | International Standard, the following definitions apply.
               3.1 access unit: A set of NAL units always containing exactly one primary coded picture. In
               addition to the primary coded picture, an access unit may also contain one or more redundant
               coded pictures or other NAL units not containing slices or slice data partitions of a coded picture.
               The decoding of an access unit always results in a decoded picture.
               ...
               3.27 coded picture: A coded representation of a picture. A coded picture may be either a coded
               field or a coded frame. Coded picture is a collective term referring to a primary coded picture or a
               redundant coded picture, but not to both together.
               ...
               3.30 coded video sequence: A sequence of access units that consists, in decoding order, of an IDR
               access unit followed by zero or more non-IDR access units including all subsequent access units
               up to but not including any subsequent IDR access unit.
               ...
               3.62 instantaneous decoding refresh (IDR) picture: A coded picture in which all slices are I or
               SI slices that causes the decoding process to mark all reference pictures as "unused for reference"
               immediately after decoding the IDR picture. After the decoding of an IDR picture all following
               coded pictures in decoding order can be decoded without inter prediction from any picture
               decoded prior to the IDR picture. The first picture of each coded video sequence is an IDR picture.
               ...
               3.87 NAL unit: A syntax structure containing an indication of the type of data to follow and bytes
               containing that data . . .
               ...
               3.109 primary coded picture: The coded representation of a picture to be used by the decoding
               process for a bitstream conforming to this Recommendation | International Standard. The primary
               coded picture contains all macroblocks of the picture. The only pictures that have a normative
               effect on the decoding process are primary coded pictures. See also redundant coded picture.

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                                                                                           U.S. Patent No. 8,050,321
          (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at pp. 4, 6 – 9).

               7.3.1 NAL unit syntax




          (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 38).

               7.4.1 NAL unit semantics
               ...
               nal_ref_idc not equal to 0 specifies that the content of the NAL unit contains a sequence parameter
               set or a picture parameter set or a slice of a reference picture or a slice data partition of a reference
               picture.
               nal_ref_idc equal to 0 for a NAL unit containing a slice or slice data partition indicates that the
               slice or slice data partition is part of a non-reference picture.
               ...
               nal_unit_type specifies the type of RBSP data structure contained in the NAL unit as specified in
               Table 7-1. VCL NAL units are specified as those NAL units having nal_unit_type equal to 1 to 5,
               inclusive. All remaining NAL units are called non-VCL NAL units.
               ...

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                                                                                                             U.S. Patent No. 8,050,321
                                   Table 7-1 – NAL unit type codes




                             (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at pp. 56-57).

                             Further, the evidence cited for claim limitation 8[A] applies to this claim limitation.

[C] starting the decoding    Each of the Accused Products, such as the Asus Q543MV, performs a method of decoding a compressed
of the video sequence from   video sequence, the method comprising: starting the decoding of the video sequence from said first image
said first image frame of    frame of the independent sequence, whereby the video sequence is decoded without prediction from any
the independent sequence,    image frame decoded prior to said first image frame.
whereby the video
sequence is decoded          For example, and without limitation, the H.264 Standard specifies starting the decoding of the video
without prediction from      sequence from said first image frame of the independent sequence, whereby the video sequence is
any image frame decoded      decoded without prediction from any image frame decoded prior to said first image frame.
prior to said first image
frame;                       For example, according to the H.264 Standard, each of the Accused Products starts the decoding of each
                             coded video sequence with an instantaneous decoding refresh (IDR) picture, which is followed by zero
                             or more non-IDR pictures in decoding order in the coded video sequence. An IDR picture is a coded
                             picture in which all slices are I or SI (intra coded) slices and therefore each of the Accused Products

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                                                                                       U.S. Patent No. 8,050,321
          independently decode IDR pictures without prediction from any other decoded picture. Furthermore,
          after decoding of an IDR picture, each of the Accused Products can independently decode all subsequent
          coded pictures in decoding order in the video sequence without inter prediction from any picture decoded
          prior to the IDR picture in question.

               3 Definitions
               For the purposes of this Recommendation | International Standard, the following definitions apply.
               ...
               3.30 coded video sequence: A sequence of access units that consists, in decoding order, of an IDR
               access unit followed by zero or more non-IDR access units including all subsequent access units
               up to but not including any subsequent IDR access unit.
               ...
               3.62 instantaneous decoding refresh (IDR) picture: A coded picture in which all slices are I or
               SI slices that causes the decoding process to mark all reference pictures as "unused for reference"
               immediately after decoding the IDR picture. After the decoding of an IDR picture all following
               coded pictures in decoding order can be decoded without inter prediction from any picture
               decoded prior to the IDR picture. The first picture of each coded video sequence is an IDR picture.
               ...
               3.87 NAL unit: A syntax structure containing an indication of the type of data to follow and bytes
               containing that data . . .
               ...
          (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at pp. 6 – 8).

               7.4.1.2 Order of NAL units and association to coded pictures, access units, and video
               sequences
               This subclause specifies constraints on the order of NAL units in the bitstream . . . Decoders
               conforming to this Recommendation | International Standard shall be capable of receiving NAL
               units and their syntax elements in decoding order.
               ...
               7.4.1.2.2 Order of access units and association to coded video sequences
               A bitstream conforming to this Recommendation | International Standard consists of one or more
               coded video sequences.
               A coded video sequence consists of one or more access units. The order of NAL units and coded
               pictures and their association to access units is described in subclause 7.4.1.2.3.

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                                                                                                           U.S. Patent No. 8,050,321
                                 The first access unit of each coded video sequence is an IDR access unit. All subsequent access
                                 units in the coded video sequence are non-IDR access units.

                           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at pp. 56-57).

                           Further, the evidence cited for claim limitations 8[A-B] applies to this claim limitation.

[D] decoding identifier    Each of the Accused Products, such as the Asus Q543MV, performs a method of decoding a compressed
values for image frames    video sequence, the method comprising: decoding identifier values for image frames according to a
according to a numbering   numbering scheme.
scheme; and
                           For example, and without limitation, as further evidence of how each of the Accused Products operates,
                           the H.264 Standard specifies decoding identifier values for image frames according to a numbering
                           scheme.

                           For example, according to the H.264 Standard, each of the Accused Products decodes a syntax element
                           pic_order_cnt_lsb in the slice header syntax as a numbered identifier for pictures:




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                                                                                      U.S. Patent No. 8,050,321




                ...
           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 45).

           Picture Order Count (picture_order_cnt_lsb) is an identifier for pictures:




           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 77).




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                                                                                      U.S. Patent No. 8,050,321




           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 98).




           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 99).

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                                                                                                                U.S. Patent No. 8,050,321




                                (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 100).




                                (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 101).

                                For example, according to the H.264 Standard, an H.264 Decoder decodes a syntax element frame_num
                                in the slice header syntax of as a numbered identifier for pictures.

                                      7.3.3 Slice header syntax




                                     ...
                                (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 45).

                                      7.4.3 Slice header semantics
                                      ...
                                      frame_num is used as an identifier for pictures . . .

                                (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 76).

                                Further, the evidence cited for claim limitations 8[A-C] applies to this claim limitation.

[E] resetting the identifier    Each of the Accused Products, such as the Asus Q543MV, performs a method of decoding a compressed
value for the indicated first   video sequence, the method comprising: resetting the identifier value for the indicated first image frame
image frame of the              of the independent sequence.
independent sequence.


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                                                                                         U.S. Patent No. 8,050,321
           For example, and without limitation, as further evidence of how each of the Accused Products operates,
           The H.264 Standard specifies resetting of the identifier value for the indicated first image frame of the
           independent sequence.

           For example, each of the Accused Products resets prevPicOrderCntMsb and prevPicOrderCntLsb to 0
           when it decodes an IDR picture at the beginning of an independent sequence.




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                                                                                      U.S. Patent No. 8,050,321




           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 98).




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                                                                          U.S. Patent No. 8,050,321




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                                                                                      U.S. Patent No. 8,050,321




           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at pp. 99-100).




           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 100).




           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 101).

           Further, 8.2.1.1 applies when NAL unit type = 5:




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                                                                                          U.S. Patent No. 8,050,321




           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 97).

           For example, an H.264 Decoder resets frame_num to 0 when it decodes an IDR picture at the beginning
           of an independent sequence.

                 7.4.3 Slice header semantics
                 ...
                 frame_num is used as an identifier for pictures . . .
                 ...
                 The value of frame_num is constrained as follows.
                    – If the current picture is an IDR picture, frame_num shall be equal to 0.

           (ITU-T Rec. H.264 (03/2005) Advanced video coding for generic audiovisual services, at p. 76).

           Further, the evidence cited for claim limitations 8[A-D] applies to this claim limitation.




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